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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,

                                           Plaintiff,
                         v.                                         23 Civ. 4738 (KPF)
COINBASE, INC. AND COINBASE GLOBAL, INC.,

                                       Defendants.



                                     NOTICE OF FILING

       Pursuant to the Court’s September 5, 2024 Order (Dkt. 160) granting Plaintiff Securities

and Exchange Commission’s Sealing Motion (Dkt. 157), Defendants Coinbase, Inc. and

Coinbase Global, Inc. hereby file revised redactions to Exhibit D to the Declaration of David

P.T. Webb in Support of Coinbase’s Motion to Compel Production of Documents (Dkt. 147).
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Dated: September 11, 2024            Respectfully submitted,
New York, New York

                                 WACHTELL, LIPTON, ROSEN & KATZ

                                 /s/ David P.T. Webb
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